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                              IN UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:14-cv-02932-REB-MJW


  Ken Zaenger,

          Plaintiff/Movant,

  Weston Distance Learning, Inc.,

          Defendant.



             NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                   DISMISSAL OF ACTION WITHOUT PREJUDICE
                           PURSUANT TO RULE 41(a)


         Ken Zaenger (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
  voluntarily dismisses this action, without prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

  Dated: November 26, 2014
                                                Respectfully submitted,
                                                By __/s/ Jenny DeFrancisco______
                                                       Jenny DeFrancisco, Esq.
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                                                       Attorneys for Plaintiff
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 26, 2014, a true and correct copy of the foregoing was
  served electronically by the U.S. District Court for the District of Colorado Electronic Document
  Filing System (ECF) and that the document is available on the ECF system.

                                               By_/s/ Jenny DeFrancisco_____
                                                   Jenny DeFrancisco, Esq.
